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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                               :   Chapter 11
In re:                                                         :
                                                               :   Case No. 18-18-12491 (CSS)
PROMISE HEALTHCARE GROUP, LLC, et al.,1 :
                                                               :   (Jointly Administered)
Debtors.                                                       :
                                                               :   Related D.I. 2072
---------------------------------------------------------------x

      NOTICE OF (A) ENTRY OF THE CONFIRMATION ORDER; (B) EFFECTIVE
      DATE OF THE PLAN; (C) SUBSTANTIAL CONSUMMATION OF THE PLAN;
       AND (D) BAR DATES FOR CERTAIN ADMINISTRATIVE, PROFESSIONAL
                           AND REJECTION CLAIMS

PLEASE TAKE NOTICE OF THE FOLLOWING:

       1.      Confirmation of the Plan. The debtors and debtors-in-possession in the above-
captioned cases (collectively, the “Debtors”) hereby give notice that, on September 17, 2020, the
Honorable Christopher S. Sontchi, United States Bankruptcy Judge for the District of Delaware,
entered an order [D.I. 2072] (the “Confirmation Order”) confirming the Plan Proponents’ Modified
Second Amended Joint Plan of Liquidation (the “Plan”).2 The Plan is attached as Exhibit A to the
Confirmation Order.



1
    The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtor’s federal tax identification
    number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913),
    Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition
    Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages
    Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255),
    HLP Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953),
    Promise Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of
    Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671),
    Promise Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise
    Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc.
    (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital
    of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065),
    Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752),
    Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties,
    L.P. (8203), Success Healthcare 1, LLC (6535), Success Healthcare, LLC (1604), Vidalia Real Estate Partners,
    LLC (4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823),
    Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG
    Technology Development and Services Company, Inc. (7766). The mailing address for the Debtors, solely for
    purposes of notices and communications, is c/o FTI Consulting, Inc., 50 California Street, Suite 1900, San
    Francisco, CA 94111.
2
    Unless otherwise defined in this Notice, capitalized terms used herein have the meanings set forth in the Plan.


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        2.      Effective Date. Pursuant to the Confirmation Order, the Debtors hereby give
notice that the Plan became effective in accordance with its terms, as set forth in Article VIII.E of
the Plan, on October 1, 2020 (the “Effective Date”).

        3.    Substantial Consummation. The Debtors hereby give notice that, as defined by
section 1101(2) of the Bankruptcy Code, the Plan has been substantially consummated.

        4.     Discharges, Releases, Exculpation and Injunctions. The Plan provides for
discharges, releases, exculpation and injunctions of certain conduct. The injunctions in the Plan
include, among other things, a permanent injunction of the commencement or prosecution by any
entity, whether directly, derivatively or otherwise, of any Claims, obligations, suits, judgment,
damages, demands, debts, rights, Causes of Action or liabilities released, exculpated or satisfied
pursuant to the Plan.

        5.      Bar Date for Allowed Accrued Professional Compensation Claims. All final
requests for payment of Allowed Accrued Professional Compensation Claims (the “Final Fee
Applications”) must be filed no later than November 30, 2020 (i.e., sixty (60) days after the
Effective Date). The procedures for processing Final Fee Applications are set forth in the Plan. If
a Professional or other Entity does not timely submit a Final Fee Application, such Entity shall be
forever barred from seeking payment of such Professional Fee Claim from the Debtors, their
Estates or the Liquidating Trust.

        6.     Bar Date for Administrative Claims. The bar date for Administrative Claims
arising on or before September 1, 2019 has expired. Requests for payment of Administrative
Claims arising after September 1, 2019, other than Claims for Accrued Professional
Compensation, must be filed with the Court and served on counsel for the Liquidating Trustee by
5:00 p.m., prevailing Eastern time, no later than the Final Administrative Claims Bar Date on
October 31, 2020 (i.e., the thirtieth (30th) day following the Effective Date).

        7.       Bar Date for Rejection Damages Claims. Except as set forth in Article VII of the
Plan, all executory contracts and unexpired leases of the Debtors have been rejected as of the
Effective Date. Claims created by the rejection of executory contracts and unexpired leases under
the Plan must be filed with the Court and served on the Liquidating Trustee no later than October
31, 2020 (i.e., the thirtieth (30th) day following the Effective Date). Any Claims arising from the
rejection of an executory contract or unexpired lease under the Plan for which proofs of Claim are
not timely filed within that time period will be forever barred from assertion against the Debtors,
the Estates, the Liquidating Trust, their successors and assigns, and their assets and properties. All
such Claims shall, as of the Effective Date, be subject to the permanent injunction set forth in
Article IX.D of the Plan. Unless otherwise ordered by the Court, all such Claims that are timely
filed as provided herein shall be treated as General Unsecured Claims under the Plan and shall be
subject to the provisions of Article III therein

        8.     Post-Effective Date Notice List. Because certain Persons and Entities may not
desire to continue to receive notices after the Effective Date, the Plan provides for the
establishment of a Post-Effective Date Notice List. Persons and Entities on such Post-Effective
Date Notice List will be given certain notices and in some cases an opportunity to object to certain
matters under the Plan (as described in the Plan). Any Person or Entity desiring to be included in


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the Post-Effective Date Notice List must (i) file a request to be included on the Post-Effective Date
Notice List and include thereon its name, contact person, address, telephone number and facsimile
number, on or before October 31, 2020 (i.e., thirty (30) days after the Effective Date), and (ii)
concurrently serve a copy of its request to be included on the Post-Effective Date Notice List on
the Liquidating Trustee and his or her counsel. On or before November 30, 2020 (i.e., sixty (60)
days after the Effective Date), the Liquidating Trustee shall compile a list of all Persons on the
Post-Effective Date Notice List and file such list with the Court. Those parties set forth in Article
XI.L of the Plan shall be included in the Post-Effective Date Notice List without the necessity of
filing a request. Notwithstanding the foregoing, Post-Effective Date notices and pleadings shall be
served on all parties whose rights are directly affected by such notices or pleadings, even if such
parties did not submit a request to be included on the Post- Effective Date Notice List.

         9.     Copies of Plan and Confirmation Order. Any party in interest who wishes to
obtain a copy of the Plan, any exhibits to the Plan or the Confirmation Order may view and
download        such      documents    at      (i) at   the    Debtors’    case     website
(https://cases.primeclerk.com/promisehealthcaregroup); or (ii) at the Court’s website
(http://www.deb.uscourts.gov) (PACER account required).

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Dated: October 2, 2020
       Wilmington, Delaware

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